Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 1 of 12 PageID #: 85




                     IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


 SYMBOLOGY INNOVATIONS, LLC,

      Plaintiff,
                                                     CASE NO. 2:15-cv-01178-JRG-RSP
 v.

 LIBERTY LIFE ASSURANCE COMPANY OF
 BOSTON and LIBERTY MUTUAL GROUP,                        JURY TRIAL DEMANDED
 INC.

      Defendants.




    DEFENDANTS LIBERTY LIFE ASSURANCE COMPANY OF BOSTON AND
  LIBERTY MUTUAL GROUP, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND
             COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

          Defendants Liberty Life Assurance Company of Boston (“Liberty Life”) and

 Liberty Mutual Group, Inc. (“Liberty Mutual”) (collectively, “Liberty”) file this Answer,

 Affirmative Defenses, and Counterclaims to Plaintiff Symbology Innovations, LLC’s

 (“Plaintiff”) Complaint. Liberty denies the allegations and characterizations in

 Plaintiff’s Complaint unless expressly admitted in the following paragraphs.




 DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 1
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 2 of 12 PageID #: 86




                               PARTIES AND JURISDICTION

        1.     Liberty admits that the Complaint purports to set forth an action for

 patent infringement1 and the Plaintiff purports to seek injunctive relief as well as

 damages, but denies that Plaintiff is entitled to any relief from Liberty.

        2.     Liberty admits that the Complaint purports to set for an action for patent

 infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., and that

 this Court has subject matter jurisdiction over this case for patent infringement under 28

 U.S.C. §§ 1331 and 1338(a).

        3.     Liberty is without knowledge or information sufficient to form a belief as

 to the truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies

 all such allegations.

        4.     Liberty Life admits that it is a corporation with a principal place of

 business at 175 Berkeley St., Boston, MA 02116. Liberty Life denies that it is organized

 and existing under the laws of the State of Massachusetts.

        5.     Liberty Mutual admits that it is a corporation organized and existing

 under the laws of the State of Massachusetts, with a principal place of business at 175

 Berkeley St., Boston, MA 02116.

        6.     Liberty denies the allegations of Paragraph 6 of the Complaint.

        7.     Liberty denies the allegations in paragraph 7 of the Complaint.



 1 Plaintiff’s Complaint identifies only the MyLibertyMobile product and related services

    as infringing the patents-in-suit. On at least that basis, Liberty Mutual objects to its
    inclusion in this lawsuit, for only Liberty Life was and is involved in the
    development, maintenance, and operation of the accused products and services.
 DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 2
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 3 of 12 PageID #: 87




                                          VENUE

        8.     Liberty admits that venue may be proper. Liberty denies that venue is

 convenient in this judicial district as to Liberty. Liberty denies it has committed acts of

 infringement and, on that basis, denies the remaining allegations of Paragraph 8.

                                         COUNT I

        9.     Liberty incorporates by reference the answers to paragraphs 1–8 above.

        10.    Liberty admits that the Complaint purports to set forth a claim under the

 patent laws of the United States. Liberty otherwise denies the remaining allegations of

 Paragraph 10 of the Complaint.

        11.    Liberty is without knowledge or information sufficient to form a belief as

 to the truth of the allegations in Paragraph 11 of the Complaint and, on that basis,

 denies all such allegations.

        12.    Liberty admits that a purported copy of U.S. Patent No. 8,424,752 (the

 “’752 Patent”) is attached to the complaint as Exhibit A and that the face of that patent

 indicates that it is entitled “System and Method for Presenting Information about an

 Object on a Portable Electronic Device.” Liberty lacks knowledge sufficient to confirm

 or deny if the document attached as Exhibit A is a true and correct copy of the ’752

 Patent. Liberty otherwise denies the remaining allegations in paragraph 12.

        13.    Liberty denies the allegations in Paragraph 13 of the Complaint.

        14.    Liberty denies the allegations in Paragraph 14 of the Complaint.

        15.    Liberty denies the allegations in Paragraph 15 of the Complaint.

        16.    Liberty denies the allegations in Paragraph 16 of the Complaint.

 DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 3
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 4 of 12 PageID #: 88




        17.    Liberty denies the allegations in Paragraph 17 of the Complaint.

        18.    Liberty is without knowledge or information sufficient to form a belief as

 to the truth of the allegations in Paragraph 18 of the Complaint and, on that basis,

 denies all such allegations.

                                        COUNT II

        19.    Liberty incorporates by reference the answers to paragraphs 1–18 above.

        20.    Liberty admits that the Complaint purports to set forth a claim under the

 patent laws of the United States. Liberty otherwise denies the remaining allegations of

 Paragraph 20 of the Complaint.

        21.    Liberty is without knowledge or information sufficient to form a belief as

 to the truth of the allegations in Paragraph 21 of the Complaint and, on that basis,

 denies all such allegations.

        22.    Liberty admits that a purported copy of U.S. Patent No. 8,651,369 (the

 “’369 Patent”) is attached to the complaint as Exhibit B. Liberty denies that the ’369

 Patent is entitled “System and Method for Presenting Information about an Object on a

 Portable Electronic Device.” Liberty lacks knowledge sufficient to confirm or deny if the

 document attached as Exhibit B is a true and correct copy of the ’369 Patent. Liberty

 otherwise denies the remaining allegations in paragraph 22.

        23.    Liberty denies the allegations in Paragraph 23 of the Complaint.

        24.    Liberty denies the allegations in Paragraph 24 of the Complaint.

        25.    Liberty denies the allegations in Paragraph 25 of the Complaint.

        26.    Liberty denies the allegations in Paragraph 26 of the Complaint
 DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 4
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 5 of 12 PageID #: 89




        27.    Liberty denies the allegations in Paragraph 27 of the Complaint

        28.    Liberty is without knowledge or information sufficient to form a belief as

 to the truth of the allegations in Paragraph 28 of the Complaint and, on that basis,

 denies all such allegations.

                                       COUNT III

        29.    Liberty incorporates by reference the answers to paragraphs 1–28 above.

        30.    Liberty admits that the Complaint purports to set forth a claim under the

 patent laws of the United States. Liberty otherwise denies the remaining allegations of

 Paragraph 30 of the Complaint.

        31.    Liberty is without knowledge or information sufficient to form a belief as

 to the truth of the allegations in Paragraph 31 of the Complaint and, on that basis,

 denies all such allegations.

        32.    Liberty admits that a purported copy of U.S. Patent No. 8,936,190 (the

 “’190 Patent”) is attached to the complaint as Exhibit C and that the face of that patent

 indicates that it is entitled “System and Method for Presenting Information about an

 Object on a Portable Electronic Device.” Liberty lacks knowledge sufficient to confirm

 or deny if the document attached as Exhibit C is a true and correct copy of the ’190

 Patent. Liberty otherwise denies the remaining allegations in paragraph 32.

        33.    Liberty denies the allegations in Paragraph 33 of the Complaint.

        34.    Liberty denies the allegations in Paragraph 34 of the Complaint.

        35.    Liberty denies the allegations in Paragraph 35 of the Complaint.

        36.    Liberty denies the allegations in Paragraph 36 of the Complaint
 DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 5
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 6 of 12 PageID #: 90




        37.    Liberty denies the allegations in Paragraph 37 of the Complaint

        38.    Liberty is without knowledge or information sufficient to form a belief as

 to the truth of the allegations in Paragraph 38 of the Complaint and, on that basis,

 denies all such allegations.

                                    PRAYER FOR RELIEF

        Liberty denies the Plaintiff is entitled to any relief from Liberty and denies all the

 allegations contained in Paragraphs a-e of Plaintiff’s Prayer for Relief.

                                  AFFIRMATIVE DEFENSES

        Liberty’s Affirmative Defenses are listed below. Liberty reserves the right to

 amend its Answer to add additional Affirmative Defenses, including allegations of

 inequitable conduct, consistent with the facts discovered in this case.

                                FIRST AFFIRMATIVE DEFENSE

        39.    Liberty has not infringed and does not infringe, under any theory of

 infringement (including directly (whether individually or jointly) or indirectly (whether

 contributorily or by inducement)), any valid, enforceable claim of the ’752, ’369, and

 ’190 Patents (collectively, the “Asserted Patents”).

                            SECOND AFFIRMATIVE DEFENSE

        40.    Each asserted claim of the Asserted Patents is invalid for failure to comply

 with one or more of the requirements of the United States Code, Title 35, including

 without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and

 laws pertaining thereto.




 DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 6
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 7 of 12 PageID #: 91




                           THIRD AFFIRMATIVE DEFENSE

       41.    To the extent that Plaintiff and any predecessors in interest to any of the

 Asserted Patents failed to properly mark any of their relevant products or materials as

 required by 35 U.S.C § 287, or otherwise give proper notice that Liberty’s actions

 allegedly infringe the Asserted Patents, Liberty is not liable to Plaintiff for the acts

 alleged to have been performed before it received actual notice that it was allegedly

 infringing the Asserted Patents.

                          FOURTH AFFIRMATIVE DEFENSE

       42.    To the extent that Plaintiff asserts that Liberty indirectly infringes, either

 by contributory infringement or inducement of infringement, Liberty is not liable to

 Plaintiff for the acts alleged to have been performed before Liberty knew that its actions

 would cause indirect infringement.

                            FIFTH AFFIRMATIVE DEFENSE

       43.    Plaintiff’s attempted enforcement of the Asserted Patents against Liberty

 is barred by one or more of the equitable doctrines of laches, estoppel, acquiescence,

 waiver, and unclean hands.

                            SIXTH AFFIRMATIVE DEFENSE

       44.    The claims of the Asserted Patents are not entitled to a scope sufficient to

 encompass any system employed or process practiced by Liberty.




 DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 7
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 8 of 12 PageID #: 92




                            SEVENTH AFFIRMATIVE DEFENSE

          45.    Plaintiff’s Complaint fails to state a claim upon which relief can be granted

 because the Asserted Patents do not claim patentable subject matter under 35 U.S.C.

 § 101.

                             EIGHTH AFFIRMATIVE DEFENSE

          46.    To the extent Plaintiff contends that it alleges a claim for indirect

 infringement (whether by inducement or contributorily), Plaintiff has failed to state a

 claim upon which relief can be granted.

                               LIBERTY’S COUNTERCLAIMS

          For   their   counterclaims   against   Plaintiff   Symbology   Innovations,   LLC

 (“Symbology”), Counterclaim Plaintiffs Liberty Life Assurance Company of Boston

 (“Liberty Life”) and Liberty Mutual Group, Inc., (“Liberty Mutual”) (collectively

 “Liberty”) allege as follows:

                                           PARTIES

          1.     Counterclaim Plaintiff Liberty Life Assurance Company of Boston is a

 corporation organized and existing under the laws of the State of New Hampshire, with

 a principal place of business in Boston, MA.

          2.     Counterclaim Plaintiff Liberty Mutual Group, Inc., is a corporation

 organized and existing under the laws of the State of Massachusetts, with a principal

 place of business in Boston, MA.

          3.     Upon information and belief based solely on Paragraph 3 of the

 Complaint as plead by Plaintiff, Counterclaim Defendant Symbology Innovations, LLC,

 DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 8
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 9 of 12 PageID #: 93




 is a limited liability company organized and existing under the laws of the State of

 Texas and maintains its principle place of business at 1400 Preston Road, Suite 400,

 Plano, Texas 75093.

                                      JURISDICTION

        4.     Liberty incorporates by reference paragraphs 1–3 above.

        5.     These counterclaims arise under the patent laws of the United States, Title

 35, United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C.

 § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

        6.     Symbology has consented to the personal jurisdiction of this court by at

 least commencing their action for patent infringement in this district, as set forth in its

 Complaint.

        7.     Based solely on Symbology’s filing of this action, venue is proper, though

 not necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                         COUNT I

                DECLARATION REGARDING NON_INFRINGEMENT

        8.     Liberty incorporates by reference paragraphs 1–7 above.

        9.     Based on Symbology’s filing of this action and at least Liberty’s first

 affirmative defense, an actual controversy has arisen and now exists between the parties

 as to whether Liberty infringes the ’752, ’369, and ’190 Patents.

        10.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

 Liberty requests a declaration by the Court that Liberty has not infringed and does not

 infringe any claim of the ’752, ’369, and ’190 Patents under any theory (including

 DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
 AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 9
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 10 of 12 PageID #: 94




  directly (whether individually or jointly) or indirectly (whether contributorily or by

  inducement)).

                                           COUNT II

                       DECLARATION REGARDING INVALIDITY

         11.    Liberty incorporates by reference paragraphs 1–10 above.

         12.    Based on Symbology's filing of this action and at least Liberty's Second

  Affirmative Defense, and actual controversy has arisen and now exists between the

  parties as to the validity of the claims of the ’752, ’369, and ’190 Patents.

         13.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

  Liberty requests a declaration by the Court claims of the ’752, ’369, and ’190 Patents are

  invalid for failure to comply with one or more of the requirements of United States

  Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the

  rules, regulations, and laws pertaining thereto.

                                     PRAYER FOR RELIEF

         WHEREFORE, Liberty asks this Court to enter judgment in Liberty’s favor and

  against Symbology by granting the following relief:

         a)     a declaration that the ’752, ’369, and ’190 Patents are invalid;

         b)     a declaration that Liberty does not infringe, under any theory, any valid

  claim of the ’752, ’369, and ’190 Patents that may be enforceable;

         c)     a declaration the Symbology take nothing by its Complaint;

         d)     judgement against Symbology and in favor of Liberty;

         e)     dismissal of the Complaint with prejudice;

  DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
  AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 10
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 11 of 12 PageID #: 95




         f)     a finding that this case is an exceptional case under 35 U.S.C. § 285 and an

  award to Liberty of its costs and attorneys’ fees incurred in this action; and

         g)     further relief as the Court may deem just and proper.

                                      JURY DEMAND

         Liberty hereby demands trial by jury on all issues.

  Dated: October 5, 2015                        Respectfully submitted,

                                                FISH & RICHARDSON P.C.



                                                By: /s/ Neil J. McNabnay
                                                    Neil J. McNabnay
                                                    mcnabnay@fr.com
                                                    Texas Bar No. 24002583
                                                    David B. Conrad
                                                    conrad@fr.com
                                                    Texas Bar No. 24049042
                                                    Ricardo J. Bonilla
                                                    rbonilla@fr.com
                                                    Texas Bar No. 24082704
                                                    1717 Main Street, Suite 5000
                                                    Dallas, Texas 75201
                                                    (214) 747-5070 - Telephone
                                                    (214) 747-2091 - Facsimile

                                                Counsel for Defendants
                                                LIBERTY LIFE ASSURANCE COMPANY
                                                OF BOSTON; AND
                                                LIBERTY MUTUAL GROUP, INC.;




  DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
  AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 11
Case 2:15-cv-01178-JRG-RSP Document 10 Filed 10/05/15 Page 12 of 12 PageID #: 96




                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and

  foregoing document has been served on October 5, 2015, to all counsel of record who

  are deemed to have consented to electronic service via the Court’s CM/ECF system per

  Local Rule CV-5(a)(3).



                                             /s/ Ricardo J. Bonilla
                                             Ricardo J. Bonilla




  DEFENDANTS’ ANSWER, AFFIRMATIVE DEFENSES,
  AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT – Page 12
